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EXHIBIT C

Case 1:17-cv-00650-G.]Q-RSK ECF No. 34-4 filed 03/26/18 Page|D.l€O Page 2 of 6

UNITED STATES DISTRICT C()URT
VVESTERN DISTRIC'I` OF` MICHIGAN

ELIZABETH LOWTNG,
Plaintiff,
v.
JUSTIN VISSER, NEWAYGO COUNTY,
DALE GIBBS, and VILLAGE OF HESPERIA,

in their individual and official capacities,

Defenclants.

CASE NO: ]7-00650
l'ION: GORDON J. QUlST

 

CHRISTOPHER 'l`RA§NOR & /-\SSOCIATES
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PLAINTIFF’S SECOND REQUEST F()R PRODUCTION OF DOCUMENTS TO
DEFENDANT VILLAGE OF HESPERIA

NOW COMES Plaintiff, by and through her attorneys, CHRlSTOPl-EER TRAINOR &
ASSOCIATES, and submits the following Second Request for Production of Documents to the
Defendant.

This Second Request for Production ol"Documents is submitted pursuant to the Federal Rules
of Civii Procedure. The information and documents sought must be given under oath, whether it is
secured by you, your agent, representative attorney or any other person who has made this knowledge
known to you, from whom you can get this information and documents or who is competent to provide
the information and documents you are requested to produce; the information and documents must
be served upon the undersigned Piaintift`s attorney, CHRlS'l`OPHER TRAlNOR & ASSOCIATES,
within thirty (30) days from the date this Second Request Por Production of Documents is served
upon you.

This Second Request for Production of Documents shall be deemed continuing and
supplementai; documents and/or information shall be required immediately upon receipt thereof if
the said parties directed to produce them directly or indirectly obtains further or different
information and/or documents from the time the information and documents are served to the time
of trial in this matter lf the items requested no longer exist or they never existed please notate the
same

SECOND REOUEST FOR PRODUCTION OF DOCUMENTS INSTRUCTIONS
l. “Docuinent" means any hand\vritten, typewritten, recorded, or graphic matter however
produced or reproduced, \-vhether or not in the possession custody or control of the defendants, and
whether or not claimed to be privileged against discovery or any ground, including but not limited to:

all contracts, reports, booi<s, records, lists, memoranda, correspondence telegrams, telexes,

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appointment calendars, diaries, schedules, films, videos, photographs, sound recordings, signed or
unsigned documents, any and all prison/jail records, as well as sent or unsent drafts of documents
“Document” shall also mean and include the original and every copy regardless of origin or location
2. “identify" when used in reference to an individual means to state that person‘s full name,
present address, present or last i<nown position and business affiliation

3. When used in reference to persons or members of a class, the term, “identify” means to
identify each individual member or members of such class.

4. “ldentify”, “ideiititicatioti", or “describe” when used in reference to documents means to state
the following as to each such document (a) the title, if any, and the nature and contents thereof: (b)
the date', (c) the date the document was executed if different from the date it bears; (d) the name,
address, and position of the addressee, if any; (e) the present location and the name, present address,
and position of the person having present custody; and (g) whether the document has been destroyed,
and it`so, with regard to such destruction, the date, the reason and the identity ofthe person or persons
who destroyed the document.

5. The above information shail he given in sufficient detail to enable a party or person to whom
a subpoena or Request for Production is directed to fully identify the documents sought to be produced
and to enable counsei for the Plaintiff to determine that such document, when produced, is, in faet,
the document so described

6_ When used in these lnterrogatories, the terms “you” and "your(s)” includes the Defendant as
weli as the Defendant’s agents, servants, employees, partners, representatives experts and
consultants, and unless privileged, the attorneys

7. "`Date” means the exact date, month and year, if ascertainable, if not, your best approximation,

which may include relationships to other events

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8. ll" any information is withheld under a claim ofprivilege or other exclusion from discovery,
state the nature of the information or document withheld, the privilege or other exclusion that is
claimed, and the facts upon which the claim ofprivilege or exclusion is based
9. Tlie singulars shall be deemed to include the plural and vice-versa and the words “and” and
“or” shall be construed either conjunctively or disjunctiyely, in the manner which affords the broadest
scope to the interrogatories
10. Do not respond to any interrogatory merely by stating, “see attached.” Specifrcally identify
the particular documents that are responsive to each Interrogatory.
l]. For the convenience of the C.ourt and the parties, please restate each lnterrogatory to your
written response prior to your written identification of the produced documents
12. The word1 “person” means any natural person, firm or corporation, partnership, joint venture,
or any other form of business entity.
SECOND REOUEST FOR PRODUCTION OF DOCUMENTS
Please produce the following;
i. Any and ail documents iisted in Section ll of Defendants Gibbs and Village of
l~lesperia’s lnitial Disclosures dated 'November 16, 201 7`.
RESPONSE:
2. Any and all documents or things vvhich will or may be anticipated to be used in the
defense of this matter
RESPONSE:
3. Any and ali documents received pursuant to a subpoena, Freedom oi"lnformation Act
requests, and/or other requests for records, documents, and/or things made by

Defendants relative to this litigation

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RESPONSE:

These Requests for Prodnction of])ocuments are deemed continuing up to and through the

time of trial.

Dated: December ll, 2017
SCC/ecn»v

PROOF OF SERVICE

Respectfully Submit/ted"'.;}" 1
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BY: //,.;=,. ,l_/l'{ 1 / g

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SHAWN C. C/-\BOT (P64021)
Attorneys for Plaintiff

9750 l-lighland Road

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The undersigned certified that on the Q/::y of Deceniber, 2017, a copy of the foregoing
document was served upon the attorney (s) of record by mailing a copy of same to said attorney
(s) at their stated business address with pre-paid first-class postage affixed thereto. l declare under
the penalty of perjury that the foregoing statement is true to the best of my infoi'rnation, knowledge

and belief

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